
USCA1 Opinion

	










          April 15, 1996
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 95-1595

                              J. DONALD ROBSON, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                              GILMAN HALLENBECK, ET AL.,

                                Defendants, Appellees.

                                 ____________________

        No. 95-1983

                              J. DONALD ROBSON, ET AL.,

                                Plaintiffs, Appellees,

                                          v.

                              GILMAN HALLENBECK, ET AL.,

                               Defendants, Appellants.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET



            The opinion of this  court issued on  April 3, 1996 is amended  as

        follows:

            On page 7, paragraph 2,  line 2, add the word "to" before the word

        "meet."





















                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________
        No. 95-1595

                              J. DONALD ROBSON, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                              GILMAN HALLENBECK, ET AL.,

                                Defendants, Appellees.

                                 ____________________

        No. 95-1983

                              J. DONALD ROBSON, ET AL.,

                                Plaintiffs, Appellees,

                                          v.

                              GILMAN HALLENBECK, ET AL.,

                               Defendants, Appellants.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Selya, Boudin and Lynch,

                                   Circuit Judges.
                                   ______________

                                 ____________________

            Michael T. Phelan for plaintiffs.
            _________________
            John  C. Ottenberg  with whom Berry, Ottenberg,  Dunkless &amp; Parker
            __________________            ____________________________________
        was on consolidated brief for defendants.


                                 ____________________

                                    April 3, 1996
                                 ____________________













                 BOUDIN, Circuit  Judge.   The plaintiffs, J.  Donald and
                         ______________

            Sandra Robson, brought suit against Gilman Hallenbeck and Dan

            DiCarlo,  alleging  that  the defendants  breached  fiduciary

            duties owed to the Robsons, administered a trust in a grossly

            negligent manner, and  committed fraud.  The  details of this

            action need  not be discussed,  since the principal  issue in

            the  plaintiffs'  appeal is  procedural  and  we decline  the

            defendants' invitation  to reach  the merits on  their cross-

            appeal.   But  because the  case was ultimately  dismissed on

            account of the plaintiffs' conduct in pre-trial  proceedings,

            a  description of the events  leading up to  the dismissal is

            required.

                 At  a pre-trial  conference on  September 30,  1994, the

            district judge entered an order  that required the parties to

            meet a  series of deadlines  in preparation for  trial, which

            was set for May 1, 1995:

                       By April 10, 1995, the parties were to file a
                 stipulation of uncontested  facts, together with  a
                 statement  of issues  to  be tried  and  a list  of
                 witnesses for each side.

                       By April 17, the parties were to submit lists
                 of proposed exhibits.

                       By April 24, the parties were to file notices
                 of  any objections  to proposed exhibits  or expert
                 witnesses.

            The parties were also directed  to make exhibits available to

            the opposing party for  inspection, to file a trial  brief by





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            the day of trial, and to file requests for rulings  of law on

            the day of trial.

                 The  plaintiffs'  attorney,  Michael Phelan,  failed  to

            attend  the September 1994 pre-trial conference, but received

            notice of the  order and its timetable.   Under circumstances

            described  more fully below, the plaintiffs  did not meet the

            April 10  deadline for filing the  stipulation of uncontested

            facts.  The plaintiffs also failed to file a list of proposed

            exhibits  by  April  17.   The  parties  dispute  whether the

            plaintiffs  made  their  exhibits  available  for  review  by

            defense  counsel  reasonably  in  advance of  April  24,  the

            deadline   for  filing   objections  to   proposed  exhibits.

            Finally, the  plaintiffs filed their requests  for rulings of

            law on May 9, eight days late.

                 On  May  1,  when  the  trial  was  scheduled to  begin,

            attorney  Phelan  appeared  in  court  15  minutes  late  and

            discovered that the judge had already dismissed the case with

            prejudice for  failure to  comply with the  court's pre-trial

            order.  The plaintiffs  filed a motion to vacate the order of

            dismissal; the  district judge  denied it without  opinion on

            May 24,  1995.  On  June 22, 1995,  the judge denied  without

            opinion the plaintiffs' motion  to reconsider their motion to

            vacate.

                 On  appeal, the  Robsons argue  that the  district court

            abused its  discretion in  dismissing the case  because their



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            actions did  not amount  to "extreme" misconduct,  see Enlace
                                                               ___ ______

            Mercantil  Internacional v. Senior  Industries, 848 F.2d 315,
            ________________________    __________________

            317 (1st  Cir. 1988),  that any  violations of  the pre-trial

            order were excusable and  did not prejudice the court  or the

            defendants,  and  that  a  lesser sanction  would  have  been

            appropriate.

                 It is hard to find an area of law in which the governing

            rules are, and probably  have to be, so vague.  Admittedly, a

            district  court  has  broad  authority  to enforce  pre-trial

            discipline and to  dismiss a  case for failure  to obey  pre-

            trial orders.   Fed.  R. Civ.  P. 16(f),  41(b); see  Link v.
                                                             ___  ____

            Wabash  Railroad Co., 370 U.S. 626 (1962).  The difficulty is
            ____________________

            that  the range of circumstances is so vast, and the problems

            so much matters of degree, as to defy mechanical rules.  What

            the cases,  taken together,  do  is to  set forth  a list  of

            pertinent considerations.

                 Among  those  commonly  mentioned  (this  list  is   not

            complete) are  the severity of the  violation, the legitimacy

            of  the  party's  excuse,   repetition  of  violations,   the

            deliberateness vel non of the misconduct, mitigating excuses,
                           ___ ___

            prejudice  to the  other side  and to  the operations  of the

            court, and  the adequacy of lesser sanctions.1   Mindful that

            case management is  a fact-specific matter within  the ken of

                                
            ____________________

                 1See Figueroa  Ruiz v. Alegria,  896 F.2d 645,  648 (1st
                  ___ ______________    _______
            Cir. 1990); 9  C. Wright  &amp; A. Miller,  Federal Practice  and
                                                    _____________________
            Procedure   2370 (2d ed. 1995).
            _________

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            the district court, reviewing courts have reversed only for a

            clear  abuse of discretion.   Damiani v.  Rhode Island Hosp.,
                                          _______     __________________

            704 F.2d 12, 17 (1st Cir. 1983) (collecting cases).

                 There is also a procedural dimension.  Although Rules 16

            and  41 do  not  formally require  any particular  procedure,

            counsel's  disregard  of  a  prior  warning  from  the  court

            exacerbates the  offense, and  the lack of  warning sometimes

            mitigates it.   Velazquez-Rivera v.  Sea-Land Service,  Inc.,
                            ________________     _______________________

            920  F.2d 1072,  1078  (1st  Cir.  1990).    Ordinarily,  the

            plaintiff is given an  opportunity to explain the  default or

            argue  for a lesser penalty; but again there is no mechanical

            rule.  Link,  370 U.S. at 632.  The presence or absence of an
                   ____

            explanation by  the district court may also be a factor.  See
                                                                      ___

            Damiani, 704 F.2d at 17.
            _______

                 In this  instance, our main  concern is that  despite an

            apparent  pattern  of noncompliance  by  plaintiffs' counsel,

            factual  disputes exist  over the  extent of  the misconduct,

            including excuses  offered as to  each of the  episodes, that

            have  never been resolved by the district court.  Cf. Richman
                                                              ___ _______

            v.  General Motors  Corp., 437  F.2d  196, 199-200  (1st Cir.
                _____________________

            1971).  If we were  dealing in this case with a minor  act of

            negligence  rather  than a  pattern,  dismissal  might appear

            harsh  where  no prior  warning was  given  and there  was no

            showing  of special prejudice to the  opponents or the court.

            See Velazquez-Rivera, 920 F.2d at 1077-78.
            ___ ________________



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                 In considering  the likely  bases for the  dismissal, we

            put to one  side plaintiffs' failure to attend  the pre-trial

            hearing, since there is no indication that the district court

            considered  it  in deciding  to dismiss  the  case.   We also

            ignore Phelan's 15-minutes late arrival  on the day of trial,

            because  by  the time  he arrived  for  trial, the  court had

            already dismissed  the case  without considering  whether his

            lateness  was excused.   What remains is  to consider whether

            the  missed pre-trial deadlines,  taken together,  provide an

            adequate basis for dismissal.   They might well do  so but in

            each instance Phelan  has offered some excuse that  has never

            been addressed.

                 1.   Late  filing of  stipulation of  uncontested facts.
                      __________________________________________________

            The parties  did not  start discussing the  stipulation until

            April 3, when the  defendants' attorney, John Ottenberg, sent

            Phelan a draft of a proposed stipulation by fax.  On April 6,

            Ottenberg advised that he  wished to add one witness  for the

            defense.   On April  7, a Friday  and the  last business  day

            before the stipulation was due, Phelan sent back a draft with

            changes.   The defendants  say that in  addition to modifying

            the proposed  facts, Phelan made unauthorized  alterations to

            the defendants' list of witnesses.
                ___________

                 The defendants found some of these  changes unacceptable

            and sent  another draft to Phelan  on that same  day.  Phelan

            did  not respond until after  the close of  business on April



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            10,  when  he  sent a  further  draft,  which the  defendants

            rejected.  No joint  stipulation was filed, and on  April 11,

            Phelan contacted a court  clerk, who advised him to  file his

            own version of the stipulation.  Although defendants filed  a

            separate  stipulation on April 12, Phelan did not do so until

            April 20.

                 Phelan  says he  contracted a  sinus and  lung infection

            during the time the parties were negotiating the stipulation.

            This might account for his delay in filing his version of the

            stipulation,  but it does not  explain why he  waited so long

            before   starting  to   discuss  the  stipulation   with  the

            defendants.  At best,  Phelan's conduct appears careless, but

            it  is difficult  to  tell  without  knowing why  Phelan  did

            nothing until Ottenberg seized the initiative.

                 2.  Late  filing of exhibit  list due April 17.   Phelan
                     __________________________________________

            also failed  to meet  the deadline of  April 17 for  filing a

            list of  exhibits; he filed the list a week late on April 24.

            Phelan  claims  that his  illness  prevented  his filing  the

            exhibits on time,  and further  that a court  clerk told  him

            "there  should be no  problem" if he filed  the list within a

            week after  the deadline.   Phelan's position is  weakened by

            his  failure  to  file  a  motion,  but  there  is  certainly

            mitigation  if he did suffer  a serious illness  in this time

            frame, a matter the district court did not address.





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                 3.    Failure to  make  exhibits  available for  review.
                       _________________________________________________

            Ottenberg  says  he  requested  access  to   the  plaintiffs'

            exhibits on  April 3 and again  on April 17, but  that Phelan

            did  not  respond.   Phelan,  in contrast,  asserts  that the

            exhibits were available for review on  April 14.  It is  hard

            to know which account is correct, and the district court made

            no finding on the point.2

                 On appeal,  Phelan argues  that the pre-trial  order did

            not set a deadline for making exhibits available to the other

            side.   But on any reasonable reading, the order required the

            parties to  make exhibits available reasonably  in advance of

            April 24, when objections to  the proposed exhibits were due.

            Far from  supporting Phelan,  this defense detracts  from his

            position.

                 The need for remand is evident.  If Phelan was  at fault

            in  all three  episodes,  dismissal was  within the  district

            court's discretion; on the  other hand, Phelan offers excuses

            for  all three  and  there are  no  findings to  resolve  the

            matter.  We leave  it open to the district court to reinstate



                                
            ____________________

                 2There is  some reason  to question Phelan's  claim that
            the  exhibits were available as early as April 14.  According
            to  the defense,  on April  27, Ottenberg's  paralegal called
            Phelan and  offered to exchange  copies of exhibits.   Phelan
            said he would have his  exhibits copied by the next day.   On
            April 28, the last business day before trial, Phelan informed
            Ottenberg that  the copies were  not ready  but the  exhibits
            were  available for review and Ottenberg could use the copier
            in Phelan's office.

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            the dismissal if it supportably finds  a pattern of unexcused

            noncompliance with the court's order.

                 We reject  now the Robsons' alternative  arguments as to

            why such a pattern even if proved could not justify dismissal

            in  this case.   First,  the Robsons  argue that there  is no

            showing of prejudice, such  as the loss of a witness  for the

            defense.  In our  view, such a specific showing  of prejudice

            would  aggravate  the misconduct,  but  is  not necessary  to

            justify dismissal.   Cf. Figueroa  Ruiz v. Alegria,  896 F.2d
                                 ___ ______________    _______

            645,  649  (1st  Cir.  1990).   Repeated  disobedience  of  a

            scheduling   order   is   inherently   prejudicial,   because

            disruption  of the  court's schedule  and the  preparation of

            other parties nearly always results.

                 Second, the Robsons argue that the sanction of dismissal

            is  too severe in these  circumstances.  There  might be some

            merit to the  plaintiffs' argument  if we were  faced with  a

            single  instance of  careless  misconduct.   A succession  of

            violations,  however, indicating  a general  unwillingness to

            comply  with  a court-imposed  scheduling  order,  is for  us

            enough  to  justify  dismissal.   Calendars  are  simply  too

            crowded for  parties to  treat scheduling orders  as optional

            and to conduct trial preparations at their own convenience.

                 Finally,  the Robsons  point to  the absence  of warning

            that  the court  was considering  dismissal.   This may  be a

            pertinent factor in evaluating a dismissal, especially if the



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            conduct  in  question did  not  violate  a clear  preexisting

            requirement.   In this case, however, the scheduling order is

            clear and by its  terms requires the parties to  meet certain

            deadlines.   A court need not provide  warning that dismissal

            will result from repeated violations of such an order.

                 The  defendants have  cross-appealed  from the  district

            court's denial on March  9, 1994 of their motion  to dismiss,

            for judgment on the pleadings, and for summary judgment.  The

            denial  of  the  defendants'  motion  is   not  independently

            appealable as a final  order.  See Pedraza v.  Shell Oil Co.,
                                           ___ _______     _____________

            942  F.2d 48, 54-55 (1st  Cir. 1991), cert.  denied, 502 U.S.
                                                  _____  ______

            1082  (1992).   This  court has  said  it will  generally not

            review denials of summary judgment or the like ancillary to a

            different appealable order, although  it has stopped short of

            saying  such review  is always  foreclosed.   Id.; see  10 C.
                                                          ___  ___

            Wright et al., Federal Practice and Procedure   2715, at 636-
                   __ ___  ______________________________

            38 (2d ed. 1983).

                 Assuming this court could choose to review the denial of

            defendants'  motions on  an ancillary  basis, we  are certain

            that this  is  not the  case  for such  an exception  to  the

            general rule  against such  review of an  otherwise non-final

            order.  The cross-appeal here attempts to present a factually

            complex summary judgment claim that is not closely related to

            our review  of the appealable  order dismissing the  case for





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            misconduct.   There  is  no simple,  abstract legal  question

            whose resolution now might avoid a lengthy trial.

                 In  vacating the  order of  dismissal and  remanding for

            further  proceedings,  we are  not  suggesting that  explicit

            findings with respect to a party's misconduct and excuses are

            necessary  for every such dismissal.   In many cases findings

            may  be easily inferred from  the record.   What is difficult

            here is that there  are at least three different  episodes of

            misconduct,  the plaintiffs' counsel  has proffered an excuse

            for each, and the  district court has not expressed  any view

            on the  matter  that would  permit  us to  provide  effective

            review.

                 The judgment of  the district court  is vacated and  the
                                                         _______

            case is remanded for further proceedings.
                    ________

























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